              Case 2:24-bk-01143-FMD          Doc 23   Filed 01/14/25     Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION
                                 www.flmb.uscourts.gov

In re:                                                          Case No. 2:24-bk-01143-FMD
                                                                Chapter 13
Ivan Melo Perez

      Debtor.
___________________/

                  TRUSTEE’S UNFAVORABLE RECOMMENDATION
                 AND OBJECTIONS TO CONFIRMATION OF THE PLAN

TO: Clerk, United States Bankruptcy Court

         1.     The Debtor’s Petition for Relief to Chapter 13 was filed on July 31, 2024.

       2.      Trustee’s Recommendation to the Court. The Trustee cannot recommend
confirmation of the Chapter 13 Plan at this time for the following reason(s):

       3.     It does not appear that the Debtor has dedicated all disposable income to the
proposed Plan as required by 11 U.S.C. §1325(b)(1)(B).

             a. The Trustee hereby requests/has requested the following additional documents
pursuant to the District-wide Administrative Order Prescribing Procedures for Chapter 13 Cases,
to determine if the Debtor has dedicated all disposable income to the Plan:

                income tax return for 2024.

              b. Pursuant to the District-wide Administrative Order Prescribing Procedures for
Chapter 13 Cases, Debtor shall timely file all tax returns and make all tax payments and deposits
when due. (However, if Debtor is not required to file tax returns, Debtor shall provide Trustee
with a statement to that effect.) For each tax return that becomes due after the case is filed,
Debtor shall provide a complete copy of the tax return; including business returns if Debtor owns
a business, together with all related W-2’s and Form 1099’s to the Trustee within 14 days of
filing the return. Unless otherwise consented to by the Trustee or ordered by the Court, Debtor
shall turn over to the Trustee all tax refunds in addition to regular Plan payments, beginning with
the tax year 2024. Debtor shall not instruct the Internal Revenue Service or other taxing agency
to apply a refund to the following year’s tax liability. Debtor shall spend no tax refunds
without first having obtained the Trustee’s written consent or court approval.
            Case 2:24-bk-01143-FMD           Doc 23    Filed 01/14/25    Page 2 of 2




       4.      According to Schedules I and J, it does not appear that the Debtor has sufficient
disposable income to fund the proposed Plan as required by 11 U.S.C. §1325(a)(6). An amended
budget must be filed.

        5.      The Plan violates 11 U.S.C. §1325(a)(4) because it does not pay unsecured
creditors the value of what they would receive in a case under Chapter 7.

             a. The Trustee hereby requests/has requested the following additional documents
pursuant to the District-wide Administrative Order Prescribing Procedures for Chapter 13 Cases,
to determine if the Debtor has met the best interests of creditors test:

               income tax return for 2024.

        6.     The Debtor’s Schedule(s) E/F # 4.3 must be amended to correctly list an
unsecured creditor.

         7.      An Amended 2016(b), and/or Plan, needs to be filed to show the correct amount
paid or to be paid to counsel for attorney fees; to include the monthly monitoring fee and to
remove any and all services covered by the Middle District of Florida No Look Fee.


                                                      /s/ Michael E. Cecil
                                                      Michael E. Cecil, Esquire
                                                      Staff Attorney for Chapter 13 Trustee
                                                      Florida Bar No. 722855
                                                      Post Office Box 25001
                                                      Bradenton, Florida 34206-5001
                                                      Phone: (941) 747-4644
                                                      Fax:    (941) 750-9266


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Trustee’s Unfavorable
Recommendation and Objections to Confirmation of the Plan has been furnished electronically by
CM/ECF services and/or by U.S. Mail to Ivan Melo Perez, Debtor, 711 Fargo Drive, Fort Myers,
FL 33913, Jose A. Blanco, Esquire, Attorney for Debtor, Jose A. Blanco, PA. 102 E 49th Street,
Hialeah, FL 33013, and the U.S. Trustee, 501 East Polk Street, Suite 1200, Tampa, Florida 33602
on this 14th day of January, 2025.

                                                      /s/ Michael E. Cecil
                                                      Michael E. Cecil, Esquire
JMW/MEC/ds

                                                2
